     Case 8:18-cv-00585-AG-DFM Document 1 Filed 04/09/18 Page 1 of 13 Page ID #:1




 1    Todd M. Friedman (SBN 216752)
      Adrian R. Bacon (SBN 280332)
 2    Meghan E. George (SBN 274525)
 3    Tom E. Wheeler (SBN 308789)
      LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 4    21550 Oxnard St., Suite 780
 5    Woodland Hills, CA 91367
      Phone: 877-206-4741
 6
      Fax: 866-633-0228
 7    tfriedman@ toddflaw.com
 8    abacon@ toddflaw.com
      mgeorge@toddflaw.com
 9    twheeler@toddflaw.com
10    Attorneys for Plaintiff

11                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
12
                                           ) Case No.
13   JOSEPH MENICHIELLO, individually )
14   and on behalf of all others similarly ) CLASS ACTION
     situated,                             )
15                                         ) COMPLAINT FOR VIOLATIONS
16   Plaintiff,                            ) OF:
                                           )
17                                              1.    NEGLIGENT VIOLATIONS
            vs.                            )
                                                      OF THE TELEPHONE
18                                         )          CONSUMER PROTECTION
19   CREIDTORS RELIEF LLC, and DOES )                 ACT [47 U.S.C. §227(b)]
     1 through 10, inclusive, and each of  )    2.    WILLFUL VIOLATIONS
20                                                    OF THE TELEPHONE
     them,                                 )          CONSUMER PROTECTION
21                                         )          ACT [47 U.S.C. §227(b)]
     Defendant.                            )    3.    NEGLIGENT VIOLATIONS
22                                                    OF THE TELEPHONE
                                           )          CONSUMER PROTECTION
23                                         )          ACT [47 U.S.C. §227(c)]
                                           )    4.    WILLFUL VIOLATIONS
24                                                    OF THE TELEPHONE
                                           )          CONSUMER PROTECTION
25                                         )          ACT [47 U.S.C. §227(c)]
26                                         )
                                           )
27                                         ) DEMAND FOR JURY TRIAL
28



                              CLASS ACTION COMPLAINT
                                         -1-
     Case 8:18-cv-00585-AG-DFM Document 1 Filed 04/09/18 Page 2 of 13 Page ID #:2




 1         Plaintiff JOSEPH MENICHIELLO (“Plaintiff”), individually and on behalf
 2   of all others similarly situated, alleges the following upon information and belief
 3   based upon personal knowledge:
 4                               NATURE OF THE CASE
 5         1.      Plaintiff brings this action individually and on behalf of all others
 6   similarly situated seeking damages and any other available legal or equitable
 7   remedies resulting from the illegal actions of CREIDTORS RELIEF LLC
 8   (“Defendant”), in negligently, knowingly, and/or willfully contacting Plaintiff on
 9   Plaintiff’s cellular telephone in violation of the Telephone Consumer Protection
10   Act, 47. U.S.C. § 227 et seq. (“TCPA”) and related regulations, specifically the
11   National Do-Not-Call provisions, thereby invading Plaintiff’s privacy.
12                              JURISDICTION & VENUE
13         2.      Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
14   a resident of California, seeks relief on behalf of a Class, which will result in at
15   least one class member belonging to a different state than that of Defendant, a New
16   Jersey company. Plaintiff also seeks up to $1,500.00 in damages for each call in
17   violation of the TCPA, which, when aggregated among a proposed class in the
18   thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
19   Therefore, both diversity jurisdiction and the damages threshold under the Class
20   Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
21         3.      Venue is proper in the United States District Court for the Central
22   District of California pursuant to 28 U.S.C. § 1391(b) and because Defendant does
23   business within the State of California and Plaintiff resides within the County of
24   Orange.
25                                        PARTIES
26         4.      Plaintiff, JOSEPH MENICHIELLO (“Plaintiff”), is a natural person
27   residing in Huntington Beach, California and is a “person” as defined by 47 U.S.C.
28   § 153 (39).


                                 CLASS ACTION COMPLAINT
                                              -2-
     Case 8:18-cv-00585-AG-DFM Document 1 Filed 04/09/18 Page 3 of 13 Page ID #:3




 1         5.     Defendant, CREDITORS RELIEF LLC (“Defendant”) is an online
 2   debt resolution company, and is a “person” as defined by 47 U.S.C. § 153 (39).
 3         6.     The above named Defendant, and its subsidiaries and agents, are
 4   collectively referred to as “Defendants.” The true names and capacities of the
 5   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 6   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 7   names. Each of the Defendants designated herein as a DOE is legally responsible
 8   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 9   Complaint to reflect the true names and capacities of the DOE Defendants when
10   such identities become known.
11         7.     Plaintiff is informed and believes that at all relevant times, each and
12   every Defendant was acting as an agent and/or employee of each of the other
13   Defendants and was acting within the course and scope of said agency and/or
14   employment with the full knowledge and consent of each of the other Defendants.
15   Plaintiff is informed and believes that each of the acts and/or omissions complained
16   of herein was made known to, and ratified by, each of the other Defendants.
17                              FACTUAL ALLEGATIONS
18         8.     Beginning in or around April of 2017, Defendant contacted Plaintiff
19   on Plaintiff’s cellular telephone number ending in -7270, in an attempt to solicit
20   Plaintiff to purchase Defendant’s services.
21         9.     Defendant used an “automatic telephone dialing system” as defined
22   by 47 U.S.C. § 227(a)(1) to place its call to Plaintiff seeking to solicit its services.
23         10.    Defendant contacted or attempted to contact Plaintiff from telephone
24   number (866) 831-6477 confirmed to be Defendant’s number.
25         11.    Defendant’s calls constituted calls that were not for emergency
26   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
27         12.    Defendant’s calls were placed to telephone number assigned to a
28   cellular telephone service for which Plaintiff incurs a charge for incoming calls


                                  CLASS ACTION COMPLAINT
                                               -3-
     Case 8:18-cv-00585-AG-DFM Document 1 Filed 04/09/18 Page 4 of 13 Page ID #:4




 1   pursuant to 47 U.S.C. § 227(b)(1).
 2         13.    During all relevant times, Defendant did not possess Plaintiff’s “prior
 3   express consent” to receive calls using an automatic telephone dialing system or an
 4   artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
 5   227(b)(1)(A).
 6         14.    Further, Plaintiff’s cellular telephone number ending in -7270 was
 7   added to the National Do-Not-Call Registry on or about February 22, 2007.
 8         15.    Defendant placed multiple calls soliciting its business to Plaintiff on
 9   his cellular telephone ending in -7270 in or around April of 2017.
10         16.    Such calls constitute solicitation calls pursuant to 47 C.F.R. §
11   64.1200(c)(2) as they were attempts to promote or sell Defendant’s services.
12         17.    Plaintiff received numerous solicitation calls from Defendant within a
13   12-month period.
14         18.    Defendant continued to call Plaintiff in an attempt to solicit its
15   services and in violation of the National Do-Not-Call provisions of the TCPA.
16         19.    Upon information and belief, and based on Plaintiff’s experiences of
17   being called by Defendant after being on the National Do-Not-Call list for several
18   years prior to Defendant’s initial call, and at all relevant times, Defendant failed to
19   establish and implement reasonable practices and procedures to effectively prevent
20   telephone solicitations in violation of the regulations prescribed under 47 U.S.C. §
21   227(c)(5).
22                                CLASS ALLEGATIONS
23         20.    Plaintiff brings this action individually and on behalf of all others
24   similarly situated, as a member the two proposed classes (hereafter, jointly, “The
25   Classes”).
26         21.    The class concerning the ATDS claim for no prior express consent
27   (hereafter “The ATDS Class”) is defined as follows:
28



                                 CLASS ACTION COMPLAINT
                                               -4-
     Case 8:18-cv-00585-AG-DFM Document 1 Filed 04/09/18 Page 5 of 13 Page ID #:5




 1                All persons within the United States who received any
                  solicitation/telemarketing   telephone   calls    from
 2                Defendant to said person’s cellular telephone made
 3                through the use of any automatic telephone dialing
                  system or an artificial or prerecorded voice and such
 4
                  person had not previously consented to receiving such
 5                calls within the four years prior to the filing of this
 6
                  Complaint

 7
           22.    The class concerning the National Do-Not-Call violation (hereafter
 8
     “The DNC Class”) is defined as follows:
 9
10                All persons within the United States registered on the
                  National Do-Not-Call Registry for at least 30 days, who
11                had not granted Defendant prior express consent nor had
12                a prior established business relationship, who received
                  more than one call made by or on behalf of Defendant
13
                  that promoted Defendant’s products or services, within
14                any twelve-month period, within four years prior to the
15                filing of the complaint.
16
           23.    Plaintiff represents, and is a member of, The ATDS Class, consisting
17
     of all persons within the United States who received any collection telephone calls
18
     from Defendant to said person’s cellular telephone made through the use of any
19
     automatic telephone dialing system or an artificial or prerecorded voice and such
20
     person had not previously not provided their cellular telephone number to
21
     Defendant within the four years prior to the filing of this Complaint.
22
           24.    Plaintiff represents, and is a member of, The DNC Class, consisting
23
     of all persons within the United States registered on the National Do-Not-Call
24
     Registry for at least 30 days, who had not granted Defendant prior express consent
25
     nor had a prior established business relationship, who received more than one call
26
     made by or on behalf of Defendant that promoted Defendant’s products or services,
27
     within any twelve-month period, within four years prior to the filing of the
28



                                CLASS ACTION COMPLAINT
                                             -5-
     Case 8:18-cv-00585-AG-DFM Document 1 Filed 04/09/18 Page 6 of 13 Page ID #:6




 1   complaint.
 2         25.    Defendant, its employees and agents are excluded from The Classes.
 3   Plaintiff does not know the number of members in The Classes, but believes the
 4   Classes members number in the thousands, if not more. Thus, this matter should
 5   be certified as a Class Action to assist in the expeditious litigation of the matter.
 6         26.    The Classes are so numerous that the individual joinder of all of its
 7   members is impractical. While the exact number and identities of The Classes
 8   members are unknown to Plaintiff at this time and can only be ascertained through
 9   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
10   The Classes includes thousands of members. Plaintiff alleges that The Classes
11   members may be ascertained by the records maintained by Defendant.
12         27.    Plaintiff and members of The ATDS Class were harmed by the acts of
13   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
14   and ATDS Class members via their cellular telephones thereby causing Plaintiff
15   and ATDS Class members to incur certain charges or reduced telephone time for
16   which Plaintiff and ATDS Class members had previously paid by having to retrieve
17   or administer messages left by Defendant during those illegal calls, and invading
18   the privacy of said Plaintiff and ATDS Class members.
19         28.    Common questions of fact and law exist as to all members of The
20   ATDS Class which predominate over any questions affecting only individual
21   members of The ATDS Class. These common legal and factual questions, which
22   do not vary between ATDS Class members, and which may be determined without
23   reference to the individual circumstances of any ATDS Class members, include,
24   but are not limited to, the following:
25                a.     Whether, within the four years prior to the filing of this
26                       Complaint, Defendant made any telemarketing/solicitation call
27                       (other than a call made for emergency purposes or made with
28                       the prior express consent of the called party) to a ATDS Class


                                 CLASS ACTION COMPLAINT
                                               -6-
     Case 8:18-cv-00585-AG-DFM Document 1 Filed 04/09/18 Page 7 of 13 Page ID #:7




 1                       member using any automatic telephone dialing system or any
 2                       artificial or prerecorded voice to any telephone number
 3                       assigned to a cellular telephone service;
 4                b.     Whether Plaintiff and the ATDS Class members were damaged
 5                       thereby, and the extent of damages for such violation; and
 6                c.     Whether Defendant should be enjoined from engaging in such
 7                       conduct in the future.
 8         29.    As a person that received numerous telemarketing/solicitation calls
 9   from Defendant using an automatic telephone dialing system or an artificial or
10   prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
11   claims that are typical of The ATDS Class.
12         30.    Plaintiff and members of The DNC Class were harmed by the acts of
13   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
14   and DNC Class members via their telephones for solicitation purposes, thereby
15   invading the privacy of said Plaintiff and the DNC Class members whose telephone
16   numbers were on the National Do-Not-Call Registry. Plaintiff and the DNC Class
17   members were damaged thereby.
18         31.    Common questions of fact and law exist as to all members of The
19   DNC Class which predominate over any questions affecting only individual
20   members of The DNC Class. These common legal and factual questions, which do
21   not vary between DNC Class members, and which may be determined without
22   reference to the individual circumstances of any DNC Class members, include, but
23   are not limited to, the following:
24                a.     Whether, within the four years prior to the filing of this
25                       Complaint, Defendant or its agents placed more than one
26                       solicitation call to the members of the DNC Class whose
27                       telephone numbers were on the National Do-Not-Call Registry
28                       and who had not granted prior express consent to Defendant and


                                 CLASS ACTION COMPLAINT
                                              -7-
     Case 8:18-cv-00585-AG-DFM Document 1 Filed 04/09/18 Page 8 of 13 Page ID #:8




 1                      did not have an established business relationship with
 2                      Defendant;
 3                b.    Whether Defendant obtained prior express written consent to
 4                      place solicitation calls to Plaintiff or the DNC Class members’
 5                      telephones;
 6                c.    Whether Plaintiff and the DNC Class member were damaged
 7                      thereby, and the extent of damages for such violation; and
 8                d.    Whether Defendant and its agents should be enjoined from
 9                      engaging in such conduct in the future.
10         32.    As a person that received numerous solicitation calls from Defendant
11   within a 12-month period, who had not granted Defendant prior express consent
12   and did not have an established business relationship with Defendant, Plaintiff is
13   asserting claims that are typical of the DNC Class.
14         33.    Plaintiff will fairly and adequately protect the interests of the members
15   of The Classes. Plaintiff has retained attorneys experienced in the prosecution of
16   class actions.
17         34.    A class action is superior to other available methods of fair and
18   efficient adjudication of this controversy, since individual litigation of the claims
19   of all Classes members is impracticable. Even if every Classes member could
20   afford individual litigation, the court system could not. It would be unduly
21   burdensome to the courts in which individual litigation of numerous issues would
22   proceed. Individualized litigation would also present the potential for varying,
23   inconsistent, or contradictory judgments and would magnify the delay and expense
24   to all parties and to the court system resulting from multiple trials of the same
25   complex factual issues. By contrast, the conduct of this action as a class action
26   presents fewer management difficulties, conserves the resources of the parties and
27   of the court system, and protects the rights of each Classes member.
28         35.    The prosecution of separate actions by individual Classes members


                                CLASS ACTION COMPLAINT
                                              -8-
     Case 8:18-cv-00585-AG-DFM Document 1 Filed 04/09/18 Page 9 of 13 Page ID #:9




 1   would create a risk of adjudications with respect to them that would, as a practical
 2   matter, be dispositive of the interests of the other Classes members not parties to
 3   such adjudications or that would substantially impair or impede the ability of such
 4   non-party Class members to protect their interests.
 5         36.    Defendant has acted or refused to act in respects generally applicable
 6   to The Classes, thereby making appropriate final and injunctive relief with regard
 7   to the members of the Classes as a whole.
 8                             FIRST CAUSE OF ACTION
 9          Negligent Violations of the Telephone Consumer Protection Act
10                                   47 U.S.C. §227(b).
11                             On Behalf of the ATDS Class
12         37.    Plaintiff repeats and incorporates by reference into this cause of action
13   the allegations set forth above at Paragraphs 1-36.
14         38.    The foregoing acts and omissions of Defendant constitute numerous
15   and multiple negligent violations of the TCPA, including but not limited to each
16   and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
17   47 U.S.C. § 227 (b)(1)(A).
18         39.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),
19   Plaintiff and the Class Members are entitled an award of $500.00 in statutory
20   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
21         40.    Plaintiff and the ATDS Class members are also entitled to and seek
22   injunctive relief prohibiting such conduct in the future.
23                           SECOND CAUSE OF ACTION
24    Knowing and/or Willful Violations of the Telephone Consumer Protection
25                                           Act
26                                   47 U.S.C. §227(b)
27                             On Behalf of the ATDS Class
28         41.    Plaintiff repeats and incorporates by reference into this cause of action


                                  CLASS ACTION COMPLAINT
                                              -9-
     Case 8:18-cv-00585-AG-DFM Document 1 Filed 04/09/18 Page 10 of 13 Page ID #:10




 1    the allegations set forth above at Paragraphs 1-36.
 2          42.    The foregoing acts and omissions of Defendant constitute numerous
 3    and multiple knowing and/or willful violations of the TCPA, including but not
 4    limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
 5    and in particular 47 U.S.C. § 227 (b)(1)(A).
 6          43.    As a result of Defendant’s knowing and/or willful violations of 47
 7    U.S.C. § 227(b), Plaintiff and the ATDS Class members are entitled an award of
 8    $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
 9    § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
10          44.    Plaintiff and the Class members are also entitled to and seek injunctive
11    relief prohibiting such conduct in the future.
12                              THIRD CAUSE OF ACTION
13           Negligent Violations of the Telephone Consumer Protection Act
14                                    47 U.S.C. §227(c)
15                              On Behalf of the DNC Class
16          45.    Plaintiff repeats and incorporates by reference into this cause of action
17    the allegations set forth above at Paragraphs 1-36.
18          46.    The foregoing acts and omissions of Defendant constitute numerous
19    and multiple negligent violations of the TCPA, including but not limited to each
20    and every one of the above cited provisions of 47 U.S.C. § 227(c), and in particular
21    47 U.S.C. § 227 (c)(5).
22          47.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(c),
23    Plaintiff and the DNC Class Members are entitled an award of $500.00 in statutory
24    damages, for each and every violation, pursuant to 47 U.S.C. § 227(c)(5)(B).
25          48.    Plaintiff and the DNC Class members are also entitled to and seek
26    injunctive relief prohibiting such conduct in the future.
27    ///
28    ///


                                  CLASS ACTION COMPLAINT
                                              - 10 -
     Case 8:18-cv-00585-AG-DFM Document 1 Filed 04/09/18 Page 11 of 13 Page ID #:11




 1    ///
 2
 3                              FOURTH CAUSE OF ACTION
 4     Knowing and/or Willful Violations of the Telephone Consumer Protection
 5                                              Act
 6                                    47 U.S.C. §227 et seq.
 7                                On Behalf of the DNC Class
 8          49.      Plaintiff repeats and incorporates by reference into this cause of action
 9    the allegations set forth above at Paragraphs 1-36.
10          50.      The foregoing acts and omissions of Defendant constitute numerous
11    and multiple knowing and/or willful violations of the TCPA, including but not
12    limited to each and every one of the above cited provisions of 47 U.S.C. § 227(c),
13    in particular 47 U.S.C. § 227 (c)(5).
14          51.      As a result of Defendant’s knowing and/or willful violations of 47
15    U.S.C. § 227(c), Plaintiff and the DNC Class members are entitled an award of
16    $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
17    § 227(c)(5).
18          52.      Plaintiff and the DNC Class members are also entitled to and seek
19    injunctive relief prohibiting such conduct in the future.
20                                  PRAYER FOR RELIEF
21     WHEREFORE, Plaintiff requests judgment against Defendant for the following:
22                               FIRST CAUSE OF ACTION
23           Negligent Violations of the Telephone Consumer Protection Act
24                                      47 U.S.C. §227(b)
25                 As a result of Defendant’s negligent violations of 47 U.S.C.
26                   §227(b)(1), Plaintiff and the ATDS Class members are entitled to and
27                   request $500 in statutory damages, for each and every violation,
28                   pursuant to 47 U.S.C. 227(b)(3)(B).


                                   CLASS ACTION COMPLAINT
                                                - 11 -
     Case 8:18-cv-00585-AG-DFM Document 1 Filed 04/09/18 Page 12 of 13 Page ID #:12




 1               Any and all other relief that the Court deems just and proper.
 2
 3
 4                          SECOND CAUSE OF ACTION
 5     Knowing and/or Willful Violations of the Telephone Consumer Protection
 6                                          Act
 7                                  47 U.S.C. §227(b)
 8               As a result of Defendant’s willful and/or knowing violations of 47
 9               U.S.C. §227(b)(1), Plaintiff and the ATDS Class members are
10               entitled to and request treble damages, as provided by statute, up to
11               $1,500, for each and every violation, pursuant to 47 U.S.C.
12               §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
13               Any and all other relief that the Court deems just and proper.
14                           THIRD CAUSE OF ACTION
15          Negligent Violations of the Telephone Consumer Protection Act
16                                  47 U.S.C. §227(c)
17               As a result of Defendant’s negligent violations of 47 U.S.C.
18               §227(c)(5), Plaintiff and the DNC Class members are entitled to and
19               request $500 in statutory damages, for each and every violation,
20               pursuant to 47 U.S.C. 227(c)(5).
21               Any and all other relief that the Court deems just and proper.
22                          FOURTH CAUSE OF ACTION
23     Knowing and/or Willful Violations of the Telephone Consumer Protection
24                                          Act
25                                  47 U.S.C. §227(c)
26               As a result of Defendant’s willful and/or knowing violations of 47
27               U.S.C. §227(c)(5), Plaintiff and the DNC Class members are entitled
28               to and request treble damages, as provided by statute, up to $1,500,


                                CLASS ACTION COMPLAINT
                                            - 12 -
     Case 8:18-cv-00585-AG-DFM Document 1 Filed 04/09/18 Page 13 of 13 Page ID #:13




 1                 for each and every violation, pursuant to 47 U.S.C. §227(c)(5).
 2                 Any and all other relief that the Court deems just and proper.
 3          53.    Pursuant to the Seventh Amendment to the Constitution of the United
 4    States of America, Plaintiff is entitled to, and demands, a trial by jury.
 5
 6
 7          Respectfully Submitted this 9th Day of April, 2018.
 8                               LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 9
                                        By: /s/ Todd M. Friedman
10                                          Todd M. Friedman
11
                                            Law Offices of Todd M. Friedman
                                            Attorney for Plaintiff
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                  CLASS ACTION COMPLAINT
                                               - 13 -
